 Case 8:14-cv-00574-JSM-E_J Document 7 Filed 04/25/14 Page 1 of 2 PageID 17




                             UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA

                                        )
GLENN TORTOSO,                          )
                                        )
       Plaintiff,                       )
                                        ) Civil Action No. 8:14-cv-00574-JSM-EAJ
v.                                      )
                                        )
PORTFOLIO RECOVERY ASSOCIATES, )
LLC;                                    )
and DOE 1-5                             )
                                        )
       Defendants.                      )
_________________________________________


                                     NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that plaintiff Glenn Tortoso and defendant Portfolio

Recovery Associates, LLC. have reached a settlement in the above-captioned case. Plaintiff

expects the settlement to be consummated by May 25, 2014, at which time Plaintiff

expects to file a voluntary dismissal of the entire action.
                        .



Date: April 25, 2014                            s/ Robert Amador
                                               ROBERT AMADOR, ESQ.
                                               Attorney for Plaintiff GLENN TORTOSO
                                               Centennial Law Offices
                                               9452 Telephone Rd. 156
                                               Ventura, CA. 93004
                                               (888)308-1119 ext. 11
                                               R.Amador@centenniallawoffices.com
 Case 8:14-cv-00574-JSM-E_J Document 7 Filed 04/25/14 Page 2 of 2 PageID 18




                                 CERTIFICATE OF SERVICE

       I certify that on this date, April 25, 2014, I mailed a copy of the foregoing NOTICE OF

SETTLEMENT, First Class U.S. Mail, to the following party:

Portfolio Recovery Associates
120 Corporate Boulevard
Norfolk, VA 23502


                                            s/ Robert Amador
                                            ROBERT AMADOR, ESQ.
                                            Attorney for Plaintiff GLENN TORTOSO
                                            Centennial Law Offices
                                            9452 Telephone Rd. 156
                                            Ventura, CA. 93004
                                            (888)308-1119 ext. 11
                                            R.Amador@centenniallawoffices.com
